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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division
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                                                                        Ci.
UNITED STATES OF AMERICA,

        vs.

                                                 Criminal Action No.: l:18-cr-83
PAUL J. MANAFORT,JR.,

                       Defendant.



 MEMORANDUM IN SUPPORT OF MEDIA COALITION MOTION TO INTERVENE
      AND FOR ACCESS TO CERTAIN PORTIONS OF THE RECORD

        Through this motion. Cable News Network, Inc.("CNN"); The Associated Press("AP");

BuzzFeed, Inc.("BuzzFeed"); NBCUniversal Media, LLC("NBC"); The New York Times

Company("The Times"); POLITICO LLC ("Politico"); and WP Co., LLC,d/b/a/ The

Washington Post(the "Post")(collectively, the "Media Coalition") seek access to certain records

and information in this case that are presumptively public pursuant to the common law and the

First Amendment. The Court is well aware ofthe prominence of and public interest in this case,

as well as the need to provide transparency to the maximum extent possible. E.g., Order of July

23, 2018 (Dkt. 145)(denying Government requests to seal motions for use immunity for trial

witnesses). There is thus no need to burden the Court with unnecessary background information

here.


        The Media Coalition seeks access to:(1)the names and addresses ofthe jurors and

alternates;(2)the sealed records at Dkts. 228,229,235 and 239;(3)the sealed portions of the

sidebar transcript subject to the Order of August 9, 2018 (Dkt. 221); and (4)any other records or

transcripts that have been sealed that may not appear on the public docket. The Media Coalition

respectfully requests that the Court grant its motion and unseal the records and information it
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seeks pursuant to the settled rights of access to records in criminal cases pursuant to the First

Amendment and common law.

                                           ARGUMENT


       I.      The Media Coalition Has Standing To Intervene

       The Fourth Circuit has firmly established the right of representatives ofthe news media

to intervene in judicial proceedings, including in criminal matters, to vindicate the public's right

of access to judicial proceedings and records. See, e.g.. Company Doe v. Pub. Citizen, 749 F.3d

246,262(4th Cir. 2014)(noting that Fourth Circuit "has previously permitted news

organizations to intervene in actions in which they were not otherwise parties to challenge a

district court's sealing order"); United States v. Moussaoui,65 F. App'x 881, 884(4th Cir. 2003)

(permitting news organizations to intervene in criminal appeal for limited purpose ofseeking to

unseal portions ofthe appellate record and transcript of oral argument). The Media Coalition has

standing to intervene because, having been denied access to records required to be available to

the public, the members ofthe Media Coalition have suffered injury to their rights that a
favorable ruling on this motion would redress. E.g., Rosenfeld v. Montgomery Cty. Pub. Sch.,25

F. App'x 123, 131-32(4th Cir. 2001)("We have held that the press has standing to intervene in
actions in which it is not otherwise a party to seek review of a district court's order sealing

documents and court records."); In re Washington Post Co., 807 F.2d 383, 393 n.4(4th Cir.

1986)(newspaper had standing to challenge sealing of records in criminal case "because it has

suffered 'an injury ... that is likely to be redressed by a favorable decision'")(citation omitted);

In re Voluntary Disclosures in Fifty-Five Closed Cases, 2018 WL 3540281, at *2(W.D. Va. July

23,2018)("[Mjedia outlets 'unquestionably have standing to challenge access to court

documents.'")(citation omitted). Therefore, because the news media's right to intervene to
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request unsealing ofjudicial records is unquestioned, the Media Coalition should be granted

leave to intervene in this case.


       II.     The Public Has Rights of Access to the Materials the Media Coalition Seeks

       The Constitution and the common law provide to the public qualified rights of access to

criminal trials, Richmond Newspapers v. Virginia^ 448 U.S. 555, 580(1980), including voir dire

proceedings, Press-Enter. Co. v. Superior Court ofCalif, 464 U.S. 501,510-12(1984){^''Press-

Enterprise /'). Those access rights extend to "documents submitted in the course of a trial,"

such as transcripts, motions and other substantive filings. In re The Wall St. Journal,601 F.

App'x 215, 218 (4th Cir. 2015)(quoting In re Time Inc., 182 F.3d 270,271 (4th Cir.1999)); In re

Charlotte Observer, 882 F.2d 850, 852(4th Cir. 1989); see also Nixon v. Warner Commc'ns,

Inc., 435 U.S. 589,597-98,98 S. Ct. 1306,1312,55 L. Ed. 2d 570(1978)("It is clear that the

courts ofthis country recognize a general right to inspect and copy ...judicial records and

documents."). Those access rights "may be abrogated only in unusual circumstances."

Company Doe, 749 F.3d at 266(quoting Stone v. Univ. ofMaryland Med. Sys. Corp., 855 F.2d

178, 182(4th Cir. 1988)). The party seeking to keep the records sealed "bears the burden of

showing some significant interest that outweighs the presumption" of opeimess. Virginia Dep't

ofState Police v. Washington Post, 386 F.3d 567, 575 (4th Cir. 2004)(citation omitted).

        The rights of access, which arise independently under both the common law and the First

Amendment, attach to "judicial records," which are "documents filed with the court" that "play a

role in the adjudicative process, or adjudicate substantive rights." In re U.S.for an Order

Pursuant to 18 U.S.C. Section 2703(D), 707 F.3d 283, 290(4th Cir. 2013). The common-law

access right applies to all judicial records and may be overcome only if"the public's right of

access is outweighed by competing interests." Id. (quoting Charlotte Observer, 743 F.2d at
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235). The First Amendment right applies only to those judicial records that satisfy the

"experience and logic" test, which asks "(1) whether the place and process have historically been

open to the press and general public, and (2) whether public access plays a significant positive

role in the functioning of the particular process in question." Id. at 291 (internal marks and

citations omitted). The First Amendment right of access may be overcome only where sealing is

narrowly tailored to serve a compelling governmental interest. Id, at 290. Regardless of the

source ofthe access right, the Court mustjustify sealing a proceeding or judicial record by

making specific findings on the record regarding the overriding interests to be served by secrecy

and the reasons for rejecting alternative methods to protect those interests. Virginia State Police,

386 F.3d at 576.

               A. Juror Names and Addresses Are Presumptively Public

        Under controlling Fourth Circuit precedent,jurors' names and addresses "are just as

much a part ofthe public record as any other part ofthe case," and therefore must be disclosed

absent extraordinary circumstances such as "realistic threats of violence or jury corruption." In

re Baltimore Sun Co., 841 F.2d 74, 76 & n.5 (4th Cir. 1988); accord United States v. Wecht, 537

F.3d 222,235(3d Cir. 2008);In re Globe Newspaper Co.,920 F.2d 88,91 (1st Cir. 1990).

Indeed, because ofthe centuries-old tradition of public trials - where community members

attending the proceedings often knew the jurors personally-the open availability ofjurors'

names is "no more than an application of what has always been the law." Baltimore Sun, 841

F.2d at 75.' This transparency also serves the public interest by helping to ensure both the

appearance and reality of fairness and justice in our courts; as the Fourth Circuit observed,"the




       'The Court of Appeals in that case observed that "[w]e see no need to and do not base
our decision on the First Amendment." Baltimore Sun, 841 F.2d at 76 n.4.
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risk of loss of confidence ofthe public in the judicial process is too great to permit a criminal

defendant to be tried by a jury whose members may maintain anonymity." Id. at 76.

       Shielding jurors' names from public view is justified "only when there is strong reason to

conclude that the jury needs protection from interference or harm, or that the integrity ofthe

jury's function will be compromised ifthe jury does not remain anonymous." United States v.

Dinkins,691 F.3d 358, 372(4th Cir. 2012). Here, there is no reason to believe that extraordinary

circumstances exist that would justify keeping jurors' names sealed - particularly after they have

rendered their verdict. This is not a case involving organized crime or other circumstances in

which the potential for violence or corruption requires an anonymous jury. C.f. United States v.

Hager,721 F.3d 167, 187-89(4th Cir. 2013)(affirming this Court's decision to empanel

anonymous jury in capital case where defendant was alleged member of narcotics trafficking

gang and had previous conviction for obstruction ofjustice). The Media Coalition is unaware of

any credible threats of physical harm or other retaliation againstjurors that would override the

presumption that their names are matters of public record. Moreover,the ability ofthird parties

to influence the jury's verdict ceases once that verdict is rendered. Therefore, the Media

Coalition respectfully requests that the Court issue an order directing the clerk to make publicly

available the names and addresses ofthe jurors and alternates who heard this case, at the latest

immediately upon return by the jury of its verdict.

               B. The Other Documents and Transcripts At Issue Should Be Unsealed

        The remaining materials the Media Coalition seeks are judicial records subject to the

First Amendment right of access (or, at a minimum,the common-law access right). As such,

they should be unsealed to aid the public's understanding of this important case.
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        Because no public motion to seal has been filed as contemplated by Local Criminal Rule

49,the Media Coalition does not and cannot know the topic ofthe sealed motion at Dkts. 228,

229, 235 and 239, what relief this defense motion^ seeks, and whatjustification(s) the parties

have claimed to support sealing these papers. However, suffice to say that any motion submitted

during trial self-evidently is one that plays a role in the adjudicative process and thus is a judicial

record subject, at a minimum,to the common-law access right. The Media Coalition opposes

sealing and respectfully requests that the Court order the requisite public motion to seal be filed

so the Coalition may meaningfully oppose sealing. In the alternative, if the Court is persuaded

that sealing is necessary, the Coalition respectfully requests that the Court issue specific findings

on the record that justify secrecy.

       Regarding the sealed portions oftranscripts of sidebar conferences, the Court has stated

that the subject matter of the discussion related to some aspect or aspects ofthe Special

Counsel's investigation that are not public knowledge. See Order Granting Motion to Seal, Aug.

9, 2018(Dkt. 221). The Court apparently did not rule on the issue of whether these transcripts

were subject to the First Amendment or common-law access right. These transcripts are subject

at a minimum to the common-law right of access, which "is fully applicable to transcripts of

sidebar or chambers conferences in criminal cases at which evidentiary or other substantive

rulings have been made." United States v. Smithy 787 F.2d 115(3d Cir. 1986).^ The Media

Coalition therefore respectfully requests that the Court reconsider its decision, apply the



       ^ Because Dkt. 238 is listed as a supplemental opposition by the Government,the Media
Coalition assumes that the underlying motion was filed by counsel for the defendant.

       ^ In an unpublished opinion, the Fourth Circuit assumed without deciding that there is a
common-law right of access to sidebar transcripts and held "this right is amply satisfied by
prompt post-trial release oftranscripts." In re Associated Press, 172 F. App'x 1,6(4th Cir.
2006).
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"experience and logic" test, and either unseal these transcripts entirely or order more targeted

redactions to withhold only that specific information that would interfere with the ongoing

investigation.

        As the Fourth Circuit has noted, although the potential for interference with an ongoing

investigation can be a legitimate justification for sealing judicial records,"not every release of

information contained in an ongoing criminal investigation file will necessarily affect the

integrity ofthe investigation." Virginia State Police, 386 F.3d at 579. In that case, the Fourth

Circuit noted the need for "specific underlying reasons" supporting "how the integrity of the

investigation reasonably could be affected by the release ofsuch information." Id. For example,

"facts that are otherwise unknown to the public" might be properly withheld, but there is little

justification to withhold information that is already public. Id. To the extent that these sidebar

discussions involved information that the Media Coalition members or others already have

reported to the public, sealing ofthe transcripts would not be justified.

        Finally, although the Media Coalition does not have any information indicating that

other, unknown records or transcripts in this case are under seal, it respectfully requests that if

there are, the Court either order those materials to be unsealed or provide the Coalition with an

opportunity to be heard regarding unsealing.
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                                        CONCLUSION


       For all ofthe foregoing reasons, the Media Coalition respectfully requests that the Court

grant its motion and enter an order directing the Clerk of Court to make public jurors' names and

the other records sought pursuant to this motion.

Respectfully submitted,

Dated: August 16, 2018                    BALLARD SPAHR LLP




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